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                  Exhibit J




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               Case 3:24-cv-01738-EMC               Document 1-11           Filed 03/20/24        Page 2 of 6 Exhibit 22
                                                                                                                      Sha, G.
                                                                                                                     02/06/24
From:          Tracy Aguilera [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               (FYDI BO HF 23SPDLT)/CN =RE Cl Pl ENTS/CN =AB58F521C6124929BC907BDDD380E9FB-TRACY AG UIL]
Sent:          1/3/2023 11:53:18 PM
To:            Geary Sha [gearysha86@gmail.com]
Subject:       RE: [EXTERNAL] - Re: Recap of Meeting
Attachments:   Change In Relationship Geary Sha 1.3.2023.pdf



Geary,

Thank you for getting back to me, I have attached your Change in Relationship.

I wish you the best.

Tracy M. Aguilera
Human Resource Manager I Menzies Aviation I SFO
T:650-745-1618I M: 415-850-9699
Tracy.agui lera@menziesaviation.com




m        People. Passion. Pride. Since 1833.

From: Geary Sha <gearysha86@gmail.com>
Sent: Tuesday, January 3, 2023 11:38 AM
To: Tracy Aguilera <tracy.aguilera@menziesaviation.com>
Subject: Re: [EXTERNAL] - Re: Recap of Meeting

1/3/2013

Tracy,

Thank you for the following jobs that you have mentioned that are out of the state. I can't accept the position as it is not
easy for my whole family to leave California. I do not resign or voluntarily resign. It seems that you are forcing me to take 2
laborer jobs at San Francisco as a Fueler or Cargo Agent. I will be crazy to accept those jobs as people I was managing
end up managing me if I accept those position.
I never know of any stations that doesn't have a General Manager. I feel that that it was because I was out on medical and
you hired a lot of other managers in my absence.


  Ramp Training Manager - ORD, Chicago, IL


  Account Manager, Alaska Airlines - ORD, Chicago, IL


  General Manager - WestJet I Ground Handling Operations - YYZ, Toronto, Canada


  Duty Manager - Fueling - Austin, Texas



Geary Sha
(650) 898-9133



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Sent from my iPad



On Dec 29, 2022, at 3:45 PM, Tracy Aguilera <tracy.aguilera@menziesaviation .com > wrote:



Hi Geary,

As mentioned before your Dr. released you as of Dec. 20 th , you have been on an unauthorized leave since then. I have
offered you two different jobs in SFO and I have also offer you some Managerial positions to have you interview and be
considered, if you qualify.

As of today, you have refused both jobs in SFO on multiple occasions and are asking for more time to consider if you
would like to interview for the managerial positions.

If you decide to accept one of these positions in SFO, you can always interview for one of the managerial positions at a
later date offered.

Unfortunately, if you do not accept any of the vacant positions in SFO, by 10:00 AM, Tuesday January 3 rd , d, I will have no
choice but to terminate your employment as a voluntary resignation/refused worked.

Sincerely,

Tracy M. Aguilera
Human Resource Manager I Menzies Aviation I SFO
T:650-745-16181 M: 415-850-9699
Tracy.agui lera@menziesaviation .com

<image001.png>


From: Geary Sha <gearysha86@gmail.com >
Sent: Thursday, December 29, 2022 2:02 PM
To: Tracy Aguilera <t racy.aguilera@menziesaviation.com >
Subject: [EXTERNAL] - Re: Recap of Meeting

December 29, 2022



Hello Tracy,

I am responding to your email that you have sent and thank you for giving me the listing of the job openings with
Menzies. I would have to think about it as it not a easy matter of packing my bags and move the whole family that easily.
2 days is not enough to think this through to relocate to another location out of California.
If you can kindly to not mention voluntarily resignation I would highly appreciated as I do not resign or voluntarily resign,
and it feels threaten when you say this.




Geary Sha
(650) 898-9133
Sent from my iPad




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                                                                                                        MENZIES_SHA_000630
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On Dec 28, 2022, at 2:58 PM, Tracy Aguilera <tracy.aguilera@menziesaviation.com > wrote:



December 28, 2022


Dear Geary Sha,

Thank you for meeting with me today regarding your status.

Your Dr. released you to full duty on 12/20/2022. You were offered all currant vacant positions in SFO, which you refused in
person, verbally today.

As of today, you are still on unauthorized leave.

I have looked into other positions, more in line with your previous position, in the Menzies network that you can apply and
you may be considered.

Please note, that there are no relocation funds available.

Please see below for the list of these jobs/positions and locations:.


   Ramp Training Manager - ORD, Chicago, IL


  Account Manager, Alaska Airlines - ORD, Chicago, IL


  General Manager - WestJet I Ground Handling Operations - YYZ, Toronto, Canada


   Duty Manager - Fueling - Austin, Texas




Please let me know if you are interested in interviewing for any of these jobs and I will arrange a date and time for your
interviews.

I will need your response, no later than Friday, December 30, 2022 at 11 ::00 AM.

Failure to respond, I will accept this as your voluntary resignation.


Sincerely,

Tracy M. Aguilera
Human Resource Manager I Menzies Aviation I SFO
T:650-745-1618I M: 415-850-9699
Tracy.agui lera@menziesaviation.com

<image001.png>


From: Tracy Aguilera
Sent: Friday, December 23, 2022 12:10 PM




                                                                                                            Page 147

                                                                                                         MENZIES_SHA_000631
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To: gearysha86@gmail.com
Subject: Recap of Meeting

Dear Geary,

As per your Dr.'s release you were scheduled to return to work on December 20, 2022. Upon your return I discussed the
available job openings that are available to you:

Aircraft Fueler
Cargo Handler

Our meeting was rescheduled until today, 12/23/2022 for your decision. You verbally advised me that you cannot
financially accept one of these positions.

However, I have set up a final meeting for Wednesday, December 28,2022 at 8:30 AM for you to reconsider accepting
one of the positions being offered.

If you do not attend the meeting, I will then accept your voluntary resignation.

As of this moment, you are placed on an unexcused leave of absence.

Attached are the job description for your review.

Sincerely,

Tracy

Tracy M. Aguilera
Human Resource Manager I Menzies Aviation I SFO
T:650-745-16181 M: 415-850-9699
Tracy.agui lera@menziesaviation .com

<image001.png>




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